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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,

v.
                                                          CASE NO. 04-90025
RICHARD DAVID ROMERO,                                     HON. MARIANNE O. BATTANI

                       Defendant.

_________________________________________/

                        OPINION AND ORDER DENYING
                DEFENDANT’S MOTION TO AMEND THE INDICTMENT

I. INTRODUCTION

       Before the Court is Defendant’s Motion to Amend the Indictment (Doc. #48). Defendant

was charged with conspiracy to posses and distribute, and possession with the intent to distribute

fifty grams or more of pure methamphetamine in violation of 21 U.S.C. §§ 841 and 846. For the

reasons set forth below, that motion is hereby DENIED.

II. STANDARD OF REVIEW

       An indictment may be amended to exclude mere surplusage, to correct misnomers or

typographical errors, to withdraw part of a charge if beneficial to the defendant, or to strike

prejudicial or irrelevant allegations. See Dye v. Sacks, 279 F.2d 834 (6th Cir. 1960); Gambill v,

U.S., 276 F.2d 180 (6th Cir. 1960); U.S. v. Kemper, 503 F.2d 327 (6th Cir. 1974). “A motion to

strike surplusage from an indictment is addressed to the sound discretion of the District Court

and should be granted only where it is clear that the allegations contained therein are not relevant
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to the charge made or contain inflammatory and prejudicial matter.” Dranow v. U.S., 307 F.2d

545, 558 (8th Cir. 1962).

               In determining whether an Indictment has sufficiently set forth the
       elements of the offense charged, the Indictment will generally be deemed
       sufficient “unless no reasonable construction can be said to charge the offense.”
       United States v. Morris, supra at 568, quoting United States v. Peterson, 867 F.2d
       1110, 1114 (8th Cir. 1989). In making this assessment, we must accept the
       allegations of the Indictment as true. United States v. Barker Steel Co., Inc., 985
       F.2d 1123, 1125 (1st Cir. 1993); United States v. Cadillac Overall Supply Co.,
       568 F.2d 1078, 1082 (5th Cir. 1978), cert. denied, 437 U.S. 903, 98 S.Ct. 3088, 57
       L.Ed.2d 1133 (1978). Ordinarily, the Court's assessment is limited to the "four
       corners" of the Indictment, and the Court should studiously avoid the
       consideration of evidence from sources beyond the Indictment. United States v.
       Hall, 20 F.3d 1084, 1087 (10th Cir. 1994). However, it is permissible, and even
       desirable in certain circumstances, for the Court to examine the factual predicates
       of an Indictment, particularly where material facts are undisputed, in order for the
       Court to ascertain whether the elements of the criminal charge can be shown. Id.;
       United States v. Brown, 925 F.2d 1301 (10th Cir. 1991).

U.S. v. Finn, 919 F. Supp. 1305, 1343 (D.Minn.,1995).

III.   ANALYSIS

       Defendant’s motion can be read in one of two ways. First, it can be read as a motion to

strike mere surplusage from the indictment; namely, to strike the government’s language alleging

Defendant possessed a particular amount of pure methamphetamine. Second, it can be read as

challenging the sufficiency of the indictment; namely, whether the government can factually

allege Defendant possessed 50 or more grams of pure methamphetamine, which is necessary to

be exposed to increased punishment under 21 U.S.C. § 841(b)(1)(A)(viii). Either way, the Court

must determine how to measure the amount of methamphetamine because, “for the purpose of

establishing the statutory-maximum sentence for drug offenses, the drug amount must be proved

beyond a reasonable doubt.” U.S. v. Darwich, 337 F.3d 645, 655 (6th Cir. 2003), citing U.S. v.

Garcia, 252 F.3d 838, 842 (6th Cir. 2001). Thus, it must be determined if the government can

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actually show Defendant possessed that amount of pure methamphetamine when he allegedly

possessed 172 grams of a mixture of less than pure methamphetamine.

       The government calculated the amount of pure methamphetamine by determining the

mixture’s concentration of methamphetamine and other substances. Hence, Defendant is

potentially eligible to be sentenced based on the amount of pure methamphetamine that the

mixture contained. Defendant argues that Congress has delineated different punishments for

pure drug quantities than for mixtures.

       Looking at Defendant’s motion either as a motion to strike mere surplusage or as a

motion challenging the sufficiency of the indictment, Defendant cannot show how the charge of

possessing a certain amount of pure methamphetamine is irrelevant to violating § 841(a), nor can

he show that “no reasonable construction can be said to charge the offense.” U.S. v. Peterson,

867 F.2d 1110, 1114 (8th Cir.1989). Likewise, Defendant cannot show how the allegation of a

specific quantity is inflammatory and prejudicial. Even so, Defendant is correct when he points

out that Congress has delineated different punishments for pure drug quantities than for

mixtures.      Congress has determined that penalties should be determined according to “the

entire weight of the mixture or substance, or the offense level determined by the weight of the

PCP (actual), amphetamine (actual), or methamphetamine (actual), whichever is greater.” U.S.

SENTENCING GUIDELINES MANUAL § 2D1.1(c), n.(B). Likewise, the Supreme Court recognized

that § 841(b) “provides a mandatory minimum sentence based either on the weight of a mixture

or substance containing a detectable amount of the drug, or on lower weights of pure PCP or

methamphetamine.” Chapman v. U.S., 500 U.S. 453, 459 (1991) (emphasis in original). Thus,

sentencing is based not only on the form of drug possessed, pure or mixture, but whichever


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weight is greater. Both the First and Ninth Circuits have addressed this issue, and have found

that sentencing is determined by the greater of the weight of pure methamphetamine that has

been extracted or the weight of the mixture containing the drug. See U.S. v. Stoner, 927 F.2d 45

(1st Cir. 1991); U.S. v. Alfeche, 942 F.2d 697 (9th Cir. 1991). The court in Alfeche reasoned,

“[t]his interpretation of section 841 also relieves the courts from deciding how ‘pure’

methamphetamine must be to trigger the ‘methamphetamine’ prong of the statute, instead of the

‘methamphetamine mixture’ prong.” Alfeche, 942 F.2d at 699. The Sixth Circuit has also

endorsed this reading in two unpublished cases. U.S. v. Deaton, 2001 WL 493372 at **1 (6th

Cir. May 4, 2001); U.S. v. Crow, 2002 WL 745819 at **2 (6th Cir. April 25, 2002).

       Thus, accepting all allegations as true, for sentencing purposes it can be shown that

Defendant possessed fifty grams or more of pure methamphetamine. Therefore, it cannot be said

that the allegations contained in the indictment “are not relevant to the charge made or contain

inflammatory and prejudicial matter.” Dranow, 307 F.2d at 558. Likewise, it cannot be said that

“no reasonable construction can be said to charge the offense.” Peterson, 867 F.2d at 1114.

IV.    CONCLUSION

       Accordingly, IT IS HEREBY ORDERED that Defendant’s January 26, 2005, Motion to

Amend the Indictment is DENIED.



                                             s/Marianne O. Battani
                                             MARIANNE O. BATTANI
                                             UNITED STATES DISTRICT JUDGE


DATE: June 17, 2005

                                CERTIFICATE OF SERVICE


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       Copies of this Order were mailed to Randall C. Roberts and Robert Donaldson on this date

by ordinary mail and electronic filing.



                                                      s/Bernadette M. Thebolt
                                                      DEPUTY CLERK




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